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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                              No. 23 CR 54-1
              v.
                                              Judge Mary M. Rowland
 THOMAS GIRARDI

                      GOVERNMENT’S MOTION TO DISMISS

      The United States of America, by ANDREW S. BOUTROS, United States

Attorney for the Northern District of Illinois, respectfully moves to dismiss the

superseding indictment (Dkt. No. 69) and original indictment (Dkt. No. 1) against

defendant Thomas Girardi in this case.

      In support of this motion, the government states as follows:

      1.     On February 1, 2023, the grand jury charged Girardi in a 12-count

indictment with co-defendants Christopher Kamon and David Lira with eight counts

of wire fraud, in violation of 18 U.S.C. § 1343, and four counts of contempt of court,

in violation of 18 U.S.C. § 401(3). Dkt. No. 1. On November 15, 2023, the grand jury

returned a superseding indictment against Girardi and Kamon that added two

perjury counts against Lira but otherwise left the original charges against Girardi in

place. Dkt. No. 69.

      2.     Subsequently, on August 27, 2024, Girardi was convicted of four counts

of wire fraud, in violation of 18 U.S.C. § 1343, in the U.S. District Court for the

Central District of California. See United States v. Girardi, No. 2:23 CR 47, Dkt. No.

371 (C.D. Cal. Aug. 27, 2024). The charges in that case were premised on other client
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thefts that Girardi committed, Dkt. No. 1, and the government has notified the Court

there of Girardi’s thefts from the Victim Clients in this case in its sentencing papers.

Id. at 419.

      3.      At this point, given that Girardi has already been convicted of stealing

from clients and the government in that case has apprised the Court of the conduct

in this matter surrounding the Victim Clients, in addition to the fact that Girardi is

turning 86 years old within the next month, the government moves to dismiss the

superseding indictment and the original indictment against Girardi in this case. The

government plans to proceed to trial against Girardi’s co-defendant and son-in-law,

Lira, for his role in the offense beginning on July 14, 2025. The government

anticipates resolving the case against Kamon with a written plea agreement.

      4.      Federal Rule of Criminal Procedure 48(a) provides that: “[t]he

government may, with leave of court, dismiss an indictment[.]” Pursuant to Rule

48(a), the government respectfully seeks leave to dismiss the superseding indictment

and original indictment against Girardi in this case.




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        WHEREFORE, for the reasons stated above, the government respectfully

requests that the Court grants its motion and dismiss the superseding indictment

(Dkt. No. 69) and original indictment (Dkt. No. 1) against Thomas Girardi in this

case.

                                      Respectfully submitted,

                                      ANDREW S. BOUTROS
                                      United States Attorney

                               By:    /s/ Jared Hasten
                                      JARED HASTEN
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Dated: May 14, 2025




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